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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov
In re:

 HECTOR Y. FAGUNDO SERRANO,                             Case No. 19-23676-AJC
                                                        Chapter 7
      Debtor.
 _______________________________/

                   TRUSTEE’S MOTION TO APPROVE SETTLEMENT
                   AND COMPROMISE OF PERSONAL INJURY CLAIM

                Any interested party who fails to file and serve a written
                response to this Motion within 21 days after the date of service
                stated in this Motion shall, pursuant to Local Rule 9013-1(D), be
                deemed to have consented to the entry of an order in the form
                attached to this Motion. Any scheduled hearing may then be
                canceled.

         MARCIA T. DUNN, as Chapter 7 Trustee for the above-captioned bankruptcy estate (the

"Trustee"), pursuant to Federal Rule of Bankruptcy Procedure 9019 and Local Rule 9013-1(D),

files this Motion to Approve Settlement and Compromise of Personal Injury Claim (the "Motion"),

and in support thereof, states as follows:

                                              Background

         1.     On October 11, 2019 (the “Petition Date”), HECTOR Y. FAGUNDO SERRANO

(the “Debtor”), commenced the instant bankruptcy case with the filing of a voluntary petition under

Chapter 7, Title 11 of the United States Bankruptcy Code.

         2.     Marcia T. Dunn was appointed as the Chapter 7 Trustee of the Debtor’s bankruptcy

estate (the “Estate”).

         3.     On November 14, 2019, the Debtor’s 11 U.S.C. § 341 Meeting of Creditors was

held and concluded.
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       4.      Prior to the Petition Date, on or about June 26, 2019, the Debtor retained Justin

Weinstein, Esquire and Weinstein Legal (collectively "Weinstein Legal") to pursue a personal injury

claim on his behalf on a contingent fee basis (the "Claim").

       5.      The Claim was scheduled on the Debtor's Amended Schedule A/B line 34 [D.E.

10].

       6.      As a result of the filing of the bankruptcy petition, the Claim became property of

the Estate pursuant to 11 U.S.C. § 541.

       7.      On January 17, 2020 the Trustee filed an Application to Justin Weinstein Esquire

and Weinstein Legal, as Special Counsel to the Estate Nunc Pro Tunc to October 11, 2019 (the

“Application to Employ Special Counsel”) [D.E. 26], and on February 12, 2020, an Order granting

the Trustee’s Application to Employ Special Counsel was entered by the Court [D.E. 31].

       8.      Since their retention, Weinstein Legal has diligently prosecuted the Claim, and has

received a settlement offer, (the “Settlement”), which the Trustee believes is in the best interest of

the Estate.

       9.      Pursuant to the terms of the proposed Settlement, the Defendant has agreed to pay

and the Trustee has agreed to accept, pending this court’s approval, the gross sum of $7,100.00

(Seven Thousand, One Hundred Dollars), (the “Settlement Amount”) to settle the Claim in full.

       10.     Trustee seeks this Court’s approval to:

               a.      Accept the Settlement and the Settlement Amount;

               b.      Make certain disbursements for the attorney’s fees of Special Counsel,

       outstanding costs advanced by Special Counsel, and medical lien settlements as reflected

       in the proposed Closing Statement, a copy of which is attached hereto as Exhibit “A” and

       incorporated by reference.
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                    c.        Execute documents necessary to effectuate the Settlement, including but not

         limited to a release.

                                           Legal Standard for Settlement

         11.        Bankruptcy Rule 9019(a) provides: “On motion . . . and after a hearing on notice to

creditors, the debtor . . . and to such other entities as the court may designate, the court may approve

a compromise or settlement.”1

         12.        As this Court has previously found, “approval of a settlement in a bankruptcy

proceeding is within the sound discretion of the Court, and will not be disturbed or modified on

appeal unless approval or disapproval is an abuse of discretion.” In re Arrow Air, Inc., 85 B.R.

886, 891 (Bankr. S.D. Fla. 1988) (Cristol, J.) (citing Rivercity v. Herpel (In re Jackson Brewing

Co.), 624 F.2d 599, 602-03 (5th Cir. 1980); Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics

Servs., Inc.), 762 F.2d 185, 189 (2d Cir. 1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938),

cert. denied sub nom. Stein v. McGrath, 306 U.S. 636 (1939)). 185, 189 (2d Cir. 1985); In re

Prudence Co., 98 F.2d 559 (2d Cir. 1938), cert. denied sub nom. Stein v. McGrath, 306 U.S. 636

(1939)).

         13.        The test is whether the proposed settlement “falls below the ‘lowest point in the

range of reasonableness.’” Arrow Air, 85 Bankr. 891 (quoting Teltronics Servs., 762 F.2d 189;

Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.), cert. denied, 464 U.S. 822

(1983)).




1
 Rule 9013-1(D) of the Local Bankruptcy Rules for the Southern District of Florida permits inter alia relief without the need for a
hearing.
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       14.     According to the United States Eleventh Circuit Court of Appeals, when a

bankruptcy court decides whether to approve or disapprove a proposed settlement, it must

consider:

               a.      the probability of success in the litigation;

               b.      the difficulties, if any, to be encountered in the matter of collection;

              c.     the complexity of the litigation involved, and the expense, inconvenience
       and delay necessarily attending it; and

              d.     the paramount interest of the creditors and a proper deference to their
       reasonable views in the premises.

       Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II. Ltd.), 898 F.2d 1544 (11th Cir.

1990). See Jackson Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.

       15.     The Trustee believes that the proposed Settlement meets the standards set forth in

In re Justice Oaks II, and therefore, recommends approval of the Settlement because it is fair and

reasonable, falls within the reasonable range of possible litigation outcomes, and is in the best

interest of the Estate because full settlement precludes any risks associated with further litigation

and collection in this matter, increases the dividend available to creditors, and allows for a

distribution of sums and proceeds within a reasonable time.

       WHEREFORE, Marcia T. Dunn, as Chapter 7 Trustee of the Bankruptcy Estate of Hector

Y. Fagundo Serrano respectfully requests this Honorable Court enter an Order in substantially the

form attached hereto as Exhibit “B”: (1) granting the instant Motion; (2) approving the Settlement;

(3) approving disbursements as reflected hereinabove (4) authorizing the Trustee to execute

documents as necessary to effectuate the Settlement; and (5) granting such other and further relief

as this Court deems just and proper.
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

May 12, 2020, to the parties who are currently on the list to receive e-mail notice/service for this

case, and via U.S. Mail to all parties of record on the attached service list.

                                               Respectfully submitted,

                                               DUNN LAW, P.A.
                                               Counsel for Marcia T. Dunn, Trustee
                                               66 West Flagler Street, Suite 400
                                               Miami, Florida 33130
                                               Tel: 786-433-3866
                                               Fax: 786-260-0269
                                               michael.dunn@dunnlawpa.com

                                               By:     /s/ Michael P. Dunn
                                                       Michael P. Dunn, Esq.
                                                       Florida Bar No. 100705
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Label Matrix for local noticing                        Bank of America                                      Geico General Insurance Company
113C-1                                                 4909 Savarese Circle                                 c/o Yates & Schiller, P.A.
Case 19-23676-AJC                                      Fl1-908-01-50                                        7900 Glades Road
Southern District of Florida                           Tampa, FL 33634-2413                                 Suite 405
Miami                                                                                                       Boca Raton, FL 33434-4104
Tue May 12 09:04:09 EDT 2020
Gertrude Jones                                         Hyundai Motor Finance                                JetStream FCU
11901 NW 13 Court                                      Attn: Bankruptcy                                     Attn: Bankruptcy
Hollywood, FL 33026-2557                               Po Box 20829                                         Po Box 5487
                                                       Fountain City, CA 92728-0829                         Miami Lakes, FL 33014-1487


Julie Yates                                            LVNV Funding, LLC                                    LVNV Funding/Resurgent Capital
7900 Glades Road, Suite 405                            Resurgent Capital Services                           Attn: Bankruptcy
Boca Raton, FL 33434-4104                              PO Box 10587                                         Po Box 10497
                                                       Greenville, SC 29603-0587                            Greenville, SC 29603-0497


Midland Funding                                        Midland Funding LLC                                  Nelly Leon
2365 Northside Dr Ste 300                              c/o Molly Fitzpatrick, Esq                           7662 N Southwood Circle
San Diego, CA 92108-2709                               PO Box 290335                                        Davie, FL 33328-3851
                                                       Tampa, FL 33687-0335


Office of the US Trustee                               (p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Hector Y Fagundo Serrano
51 S.W. 1st Ave.                                       PO BOX 41067                                         9981 NW 135th Street
Suite 1204                                             NORFOLK VA 23541-1067                                Hialeah Gardens, FL 33018-1602
Miami, FL 33130-1614


Justin Weinstein                                       Marcia T Dunn                                        Robert Sanchez Esq
713 E Broward Blvd #R                                  66 West Flagler Street, Ste 400                      355 W 49 St.
Fort Lauderdale, FL 33301-2015                         Miami, FL 33130-1807                                 Hialeah, FL 33012-3715




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery
Attn: Bankruptcy
120 Corporate Blvd
Norfold, VA 23502




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                               End of Label Matrix
                                                       Mailable recipients    17
                                                       Bypassed recipients     1
                                                       Total                  18
